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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


RAFFI KHATCHADOURIAN,

            Plaintiff

       v.                                                     Civil Action No. 16-00311
                                                                      RCL/DAR
DEFENSE INTELLIGENCE AGENCY, et
al.,

            Defendants.



                                    SCHEDULING ORDER

       This action was referred to the undersigned for the purposes of (1) entry of a scheduling

order and (2) report and recommendation. Proceedings with respect to the latter have been stymied

by the parties’ failure to engage in meaningful discussions with respect to the former, evidenced

by the pending dispute regarding a briefing schedule. See Plaintiff’s Motion for Bifurcated

Briefing and Leave to Conduct Limited Discovery (ECF No. 52); Defendants’ Opposition to

Plaintiff’s Motion for Bifurcated Briefing and Leave to Conduct Discovery (ECF No. 54); Reply

in Support of Plaintiff’s Motion for Bifurcated Briefing and Leave to Conduct Limited Discovery

(ECF No. 55).

       The undersigned observes that while Defendants oppose Plaintiff’s motion for limited

discovery, Defendants actually seek discovery from Plaintiff in advance of the filing of their

motion for summary judgment. See Defendants’ Opposition at 11-12) (“Specifically, DIA requests

that the Court order Plaintiff, within two weeks, to identify to DIA what withholdings he intends

to challenge at summary judgment . . . .”).
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Khatchadourian v. Defense Intelligence Agency, et al.


       Without deciding whether either sides’ request for discovery at this time is supported by

the cited authorities, the undersigned finds that the most efficient way to address this anomaly is

to afford each side the opportunity for limited discovery in advance of the filing by Defendants of

their motion for summary judgment.

       Accordingly, it is, this 14th day of May, 2018,

       ORDERED that discovery in advance of the filing by Defendants of their motion for

summary judgment is confined to no more than four interrogatories by each side; and it is

       FURTHER ORDERED that the interrogatories for which this order provides shall be

served, if at all, by no later than May 25, 2018; and it is

       FURTHER ORDERED that Defendants shall file their motion for summary judgment by

no later than July 16, 2018, and that absent leave of the Court, the parties shall complete the

briefing of the motion in accordance with the deadlines proscribed by the applicable rules; and it

is

       FURTHER ORDERED that Plaintiff’s Motion for Bifurcated Briefing and Leave to

Conduct Limited Discovery (ECF No. 52) is DENIED AS MOOT.


                                                              Deborah A.        Digitally signed by Deborah A. Robinson
                                                                                DN: c=US, st=District of Columbia, l=Washington,
                                                                                o=United States District Court for the District of
                                                                                Columbia, ou=U.S. Magistrate Judge,


                                                              Robinson
                                                                                cn=Deborah A. Robinson,
                                                                                email=Chambers_DoNotReply@dcd.uscourts.gov

                                                                                                           .
                                                                                Date: 2018.05.14 14:51:14 -04'00'


                                                               DEBORAH A. ROBINSON
                                                               United States Magistrate Judge




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